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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                         :
    v.                   : CRIMINAL NO. 21cr0006 (TJK)
                         :
DOUGLAS AUSTIN JENSEN,   :
    Defendant.           :


        MOTION FOR RECONSIDERATION OF THE REVOCATION
                  OF DOUGLAS JENSEN’S BOND

        Douglas Jensen, by and through his attorney, Christopher M. Davis,

respectfully moves this Honorable Court to reconsider its decision to revoke his

bond.

        1. On September 2, 2021, this Court found “by clear and convincing

evidence” the Defendant violated the conditions of his release by (1) accessing the

internet, specifically an online video platform, through the use of a cell phone on

August 13, 2021, and (2) accessing the internet, specifically video of a cyber

symposium related to a recount of the 2020 Presidential election, through the use

of a cell phone, in the days before that. The Court also found, for the reasons

provided on the record, that the Defendant is "unlikely to abide by any condition or

combination of conditions of release," id. § 3 l 48(b)(2)(B). See, Dkt. 37.
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      2. Mr. Jensen requests that the Court reconsider its decision to revoke his

bond. Though Mr. Jensen violated a direct Court order, at no time did he pose a

danger to the community nor did he present a risk of flight. While on release,

Jensen was in home detention and had an “electronic fence” which would have

alerted Pre-Trial Services of any unauthorized movement.

      3. Mr. Jensen did let the Court down by listening to news outlets that some

may find puzzling. However, in the final analysis, his actions impacted no one but

himself. And as the United States has argued, an internet ban would be impossible

to enforce; though for reasons different than what the government was arguing.

      4. The internet is more than a luxury in 2021. Cell phones are as common

as a key to the front door of one’s home. In fact, a cell phone may be the digital

key to your front door. Googling matters, shopping, checking the weather,

steaming movies, emailing, texting and now, attending court, are all activities that

make the internet an integral part of our lives. And this list is not inclusive of all

the many ways that the internet impacts us in our 21st Century lives.

      5. Mr. Jensen requests that he be released to home detention with GPS

monitoring, with a ban on utilizing social media. To ban his access to news outlets

and information he apparently feels a need to consume is not only difficult to

enforce, it also has an uncomfortable ring of Totalitarianism.
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      WHEREFORE, Mr. Jensen asks this Court to accept his apology and allow

him to return to home incarceration, with the 3 months that he has served since

being revoked considered a sanction for his abuse of this Court’s trust.

                                       Respectfully submitted,

                                       _              /s/_____________
                                       Christopher M. Davis #385582
                                       Counsel for Douglas Jensen

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                          CERTIFICATE OF SERVICE
      I hereby certify that a copy of this motion was served upon all counsel of
record via the Court’s CM/ECF System on this 6th day of December 2021.

                                       _________/s/____________________
                                       Christopher M. Davis
